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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                   CR 13-52-GF-BMM-03

                  Plaintiff,                 FINDINGS AND
                                             RECOMMENDATIONS TO
       vs.                                   REVOKE DEFENDANT’S
                                             SUPERVISED RELEASE
 DUSTIN JAY AFTER BUFFALO,

                  Defendant.


                                      I. Synopsis

      The United States accused Mr. After Buffalo of violating his conditions of

supervised release by (1) failing to report to his probation officer as directed, (2)

failing to notify his probation officer prior to a change in residence and (3) failing

to participate in substance abuse treatment. He admitted to the violations. Mr.

After Buffalo’s supervised release should be revoked. He should be sentenced to

six months of custody, with no supervised release to follow. The Court

recommends that Mr. After Buffalo serve his sentence in the Federal Correctional

Institution in Herlong, California.
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                                    II. Status

      Mr. After Buffalo pleaded guilty to Burglary in August 2013. (Doc. 69.)

Chief District Judge for the District of Montana Dana Christensen sentenced him to

12 months and one day in prison, and 36 months of supervised release. (Doc. 85.)

Mr. After Buffalo began his first term of supervised release on March 22, 2014.

On December 30, 2014, Mr. After Buffalo met with his probation officer to address

non-compliance behavior after Mr. After Buffalo tested positive for marijuana. He

was subsequently placed in chemical dependency treatment. On March 17, 2015,

after further noncompliance issues, Mr. After Buffalo attended a Non-Compliance

Hearing with his probation officer and Supervising United States Probation Officer

Kevin Heffernan. Mr. After Buffalo was redirected to chemical dependency

treatment and warned that any further noncompliance would result in proceedings

before this Court. (Doc. 104.)

      In August 2015, United States District Judge Brian Morris revoked Mr.

After Buffalo’s supervised release because he violated its conditions by using

alcohol. Mr. After Buffalo was sentenced to three months of custody and thirty-

three months of supervised release. (Doc. 113.) Mr. After Buffalo’s next term of

supervision began on October 6, 2015. (Doc. 125.)

      Judge Morris revoked Mr. After Buffalo’s supervised release again on

February 2, 2016, because he consumed alcohol and failed to notify is probation
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officer of his contact with law enforcement. (Doc. 138.) Judge Morris sentenced

him to three months in custody followed by thirty months of supervised release. He

began his current term of supervised release on October 1, 2016.

      Mr. After Buffalo successfully completed six months of Public Law at the

Great Falls Prerelease Center. On October 24, 2016, the United States Probation

Office filed a Report on Offender Under Supervision stating that Mr. After Buffalo

admitted to using methamphetamine and alcohol. (Doc. 150.)

      Petition

      The Probation Office filed a petition asking the Court to revoke Mr. After

Buffalo’s supervised release on November 3, 2016. (Doc. 151.) The Probation

Office accused Mr. After Buffalo of violating his conditions of supervised release

by (1) failing to report to his probation officer as directed, (2) failing to notify his

probation officer prior to a change in residence and (3) failing to participate in

substance abuse treatment. (Id.) Judge Morris issued a warrant for Mr. After

Buffalo’s arrest the same day. (Doc. 152.)

      Initial appearance

      Mr. After Buffalo appeared before the undersigned on December 6, 2016, in

Great Falls, Montana. Federal Defender Hank Branom accompanied him.

Assistant United States Attorney Ryan Weldon represented the United States.

      Mr. After Buffalo said he had read the petition and understood the
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allegations. Mr. After Buffalo waived the preliminary hearing, and the parties

consented to proceed with the revocation hearing before the undersigned.

Revocation hearing

      Mr. After Buffalo admitted that he violated the conditions of his supervised

release. The violations are serious and warrant revocation of his supervised

release.

      Mr. After Buffalo’s violation grade is Grade C, his criminal history category

is I, and his underlying offense is a Class C felony. He could be incarcerated for

up to twenty-four months. He could be ordered to remain on supervised release for

thirty months, less any custody time imposed. The United States Sentencing

Guidelines call for three to nine months in custody.

      Mr. Branom recommended a sentence of four to six months of custody. Mr.

Weldon recommended a sentence of nine months in custody, with no supervised

release to follow. Mr. After Buffalo addressed the Court and stated that he knows

he has been associating with the wrong people and would like to relocate to

Billings or Missoula.



                                   III. Analysis

      Mr. After Buffalo’s supervised release should be revoked because he

admitted violating its conditions. Mr. After Buffalo should be sentenced to six
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months in custody, with no supervised release to follow. The Court recommends

that Mr. After Buffalo serve his sentence in the Federal Correctional Institution in

Herlong, California. This sentence would be sufficient given the serious violation

of the Court’s trust, but it would not be greater than necessary.

                                  IV. Conclusion

      Mr. After Buffalo was advised that the above sentence would be

recommended to Judge Morris. The Court reminded him of his right to object to

these Findings and Recommendations within 14 days of their issuance. The

undersigned explained that Judge Morris would consider Mr. After Buffalo’s

objection, if it is filed within the allotted time, before making a final determination

on whether to revoke Mr. After Buffalo’s supervised release and what, if any,

sanction to impose.

The Court FINDS:

             Dustin Jay After Buffalo violated his conditions of supervised release
             by (1) failing to report to his probation officer as directed, (2) failing
             to notify his probation officer prior to a change in residence and (3)
             failing to participate in substance abuse treatment.

The Court RECOMMENDS:

             The district court should enter the attached Judgment,
             revoking Mr. After Buffalo’s supervised release and
             committing Mr. After Buffalo to the custody of the
             United States Bureau of Prisons for six months, with no
             supervised release to follow. Mr. After Buffalo should
             serve this sentence in the Federal Correctional Institution
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             in Herlong, California.


        NOTICE OF RIGHT TO OBJECT TO FINDINGS AND
    RECOMMENDATIONS AND CONSEQUENCES OF FAILURE TO
                         OBJECT

      The parties may serve and file written objections to the Findings and

Recommendations within 14 days of their entry, as indicated on the Notice of

Electronic Filing. 28 U.S.C. § 636(b)(1). A district judge will make a de novo

determination regarding any portion of the Findings and Recommendations to

which objection is made. The district judge may accept, reject, or modify, in

whole or in part, the Findings and Recommendations. Failure to timely file written

objections may bar a de novo determination by the district judge, and may waive

the right to appear and allocute before a district judge.

      Dated the12th day of December 2016.
